Case 2:24-cv-00104-JNP-CMR Document 26-2 Filed 02/23/24 PagelD.154 Page 1 of 12

For this Referendum re: 2023 S.B. 31 State Flag Amendments, Signature gatherers will NOT be
paid for their services.

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Case 2:24-cv-00104-JNP-CMR Document 26-2 Filed 02/23/24 PagelD.155 Page 2 of 12

Application for an Initiative or Referendum
Utah Code § 20A-7-202

PLEASE NOTE: A copy of the law must be attached to this application along with a statement indicating
whether or not signature gatherers will be paid for their services.

Please type or print Application must be completed by five sponsors

Sponsor Statement

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KAREN W. BUTLER
NOTARY PUBLIC
STATE OF UTAH
LICENSE #726753
My Commission Expires 09/19/2¢

Subscribed and affirmed before me this 4 day of _, MM Ave 2023,

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Notary Public

by

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Sponsor Statement

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Notary Public

To File This Form
Mail or deliver to:
Lieutenant Governor's Office
Utah State Capitol
Suite 220
Salt Lake City, UT 84114-2325
Fax (801) 538-1133

For More Information Call or Visit:
(801) 538-1041
1-800-995-VOTE (8683)
elections.utah.gov

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Application for an Initiative or Referendum Name of Organization
Utah Code § 20A-7-202 UT4H FLAG RE DUA

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Name of Sponsor (please type or print)

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Case 2:24-cv-00104-JNP-CMR Document 26-2 Filed 02/23/24 PagelD.157 Page 4 of 12

Application for an Initiative or Referendum
Utah Code § 20A-7-202

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Name of Sponsor (please type or print)

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Utah State Capitol
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Name of Organization

Application for an Initiative or Referendum
Utah Code § 20A-7-202

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Name of Sponsor (please type or print)

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Case 2:24-cv-00104-JNP-CMR Document 26-2 Filed 02/23/24 PagelD.159 Page 6 of 12

Application for an Initiative or Referendum
Utah Code § 20A-7-202

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Sponsor Statement

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{ é Comm. No. 728990
. t My Commission Expires on
Tat Jan 25, 2027

Notary Public

Sponsor Statement

I, affirm that | am registered to vote in Utah
Name of Sponsor (please type or print)

Residence Address Sponsor's Signature
Notary Seal
City, State, Zip Phone Number
Email
Subscribed and affirmed before me this day of 20.

by

Notary Public

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LEGISLATIVE GENERAL COUNSEL S.B. 31

€, Approved for Filing: G. Harb & 4th Sub. (Pumpkin)
G 03-01-23 5:57PM &

Representative Mike Schultz proposes the following substitute bill:

STATE FLAG AMENDMENTS
2023 GENERAL SESSION
STATE OF UTAH

Chief Sponsor: Daniel McCay
House Sponsor: Mike Schultz

eS
LONG TITLE
General Description:
This bill addresses the state flag of Utah.
Highlighted Provisions:
This bill:
> establishes a new state flag of Utah;
» describes the design and meaning of the new state flag;
> designates the current state flag as the historical state flag;
> provides for the display of both flags; and
> depicts the flags in images.
Money Appropriated in this Bill:
None
Other Special Clauses:
This bill provides a special effective date.
Utah Code Sections Affected:
ENACTS:
63G-1-503, Utah Code Annotated 1953
REPEALS AND REENACTS:
63G-1-501, as last amended by Laws of Utah 2021, Chapter 205

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4th Sub. (Pumpkin) S.B. 31 03-01-23 5:57 PM

Be it enacted by the Legislature of the state of Utah:

Section 1. Section 63G-1-501 is repealed and reenacted to read:
Part 5. State Flags
63G-1-501. State flag -- Description -- Image -- Display.
(1) The state flag of Utah shall be a rectangle that has a width to length ratio of three to

five and contain the following:

which:

(a) two irregular, horizontal lines dividing the flag into three separate segments, of

(1) the top segment:

(A) is located above the higher horizontal line; and
(B) is shaded in blue:
(ii) the middle segment:

(A) is located between the two horizontal lines;

(B) is shaded in white:

(C) at the higher horizontal line, takes the shape of a mountain with five peaks, the

center peak being the tallest and following the shape of the highest point of the hexagon

described in Subsection (1)(b); and

(D) at the lower horizontal line, follows the shape of the lowest point of the hexagon

described in Subsection (1)(b); and

(iii) the bottom segment:

(A)_is located below the lower horizontal line: and

(B) is shaded in red;
(b) one hexagon that:

(i) is shaded in blue;

(ii) contains a smaller gold hexagon outline: and

(iii) is placed within the center of the middle segment described in Subsection

(1)(a)(i1);

(c) one beehive that:

(1) is shaded in gold:

(ii) contains five hive sections with a small semicircle removed from the center of the

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base of the lowest section; and

(iii) is placed within the center of the hexagon described in Subsection (1)(b); and

(d) one five-pointed Utah star that:

(i) is shaded in white; and

(ii) is placed below the center of the beehive described in Subsection (1)(c).

(2) The state flag shall represent and symbolize the following:

(a) the beehive described in Subsection (1)(c) symbolizes industry, community, and the

year 1847, the year in which pioneers first settled Utah;
(b) the Utah star described in Subsection (1)(d) symbolizes hope and the year 1896, the

year in which Utah was admitted to statehood;

(c) the hexagon described in Subsection (1)(b) symbolizes the strength of Utah's

people;
(d) the top segment described in Subsection (1)(a)(i) represents Utah's skies and

symbolizes faith;

(e) the middle segment described in Subsection (1)(a)(ii) represents Utah's snowy

mountains and peace, the peaks of which symbolize Utah's indigenous peoples; and

(f) the bottom segment described in Subsection (1)(a)(iii) represents the red rocks of

Southern Utah and symbolizes perseverance and the state's unique landscapes.

(3) The state flag shall appear consistent with the following image:

(4) The state flag shall be available in the public domain and be displayed on all

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occasions when the state is officially and publicly represented, with the privilege of use by all

citizens upon any occasion deemed fitting and appropriate.

(5) The lieutenant governor shall establish standards and specifications for the

manufacture and display of the state flag.

Section 2. Section 63G-1-503 is enacted to read:
63G-1-503. Historic state flag -- Description -- Image -- Display.
(1) The historic state flag shall be a flag of blue field, with the following device

worked in natural colors on the center of the blue field:

(a) in the center a shield;

(b) above the shield and thereon an American eagle with outstretched wings;

(c) the top of the shield pierced with six arrows arranged crosswise;

(d) upon the shield under the arrows the word "Industry," and below the word
"Industry" on the center of the shield, a beehive;

(e) on each side of the beehive, growing sego lilies;
(f) below the beehive and near the bottom of the shield, the word "Utah";
(g) below the word "Utah" and on the bottom of the shield, the figures "1847";

(h) behind the shield, there shall be two American flags on flagstaffs placed crosswise

with the flags so draped to project beyond each side of the shield, the heads of the flagstaff's

appearing in front of the eagle's wings and the bottom of each staff appearing over the face of
the draped flag below the shield;
(i) below the shield and flags and upon the blue field, the figures "1896"; and

(j)_ around the entire design, a narrow circle in gold.

(2) The historic state flag shall appear consistent with any of the following three

Images:
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4th Sub. (Pumpkin) S.B. 31 03-01-23 5:57 PM

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105 (3) All citizens maintain the right to use the historic state flag upon any occasion

106 deemed fitting and appropriate.

107 (4) The lieutenant governor shall establish standards and specifications for the

108 manufacture and display of the historic state flag.
109 (5) The historic state flag shall be displayed:
110 (a) on state property during legal holidays described in Section 63G-1-301, as deemed

111 appropriate by the governor; and

112 (b) on the capitol hill complex, as defined in Section 63C-9-102, during the annual

113. general session of the Legislature.

114 (6) (a) The historic state flag may be displayed on state property for ceremonial

115 purposes, so long as the flag is serviceable.

116 (b) The historic state flag shall be replaced by the state flag of Utah, as described in

117. Section 63G-1-501, when the historic state flag is not displayed for ceremonial purposes.

118 (c) When displaying the historic state flag on public grounds in any location where the

119 state flag of Utah, as described in Section 63G-1-501, is also displayed, the governmental

120 entity responsible for the display of the flags shall ensure that the historic state flag is displayed
121 beneath the state flag of Utah.

122 Section 3. Effective date.

123 This bill takes effect on March 9, 2024.

